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INITIAL CONFERENCE QUESTIONNAIRE

CASE NAME: | Joleln V_ LIZ? DOCKETNO.: 20 -4YS24

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14.

Date for completion of automatic disclosures required by Rule 26(a)(1) of the Federal

Rules of Civil Procedure, if not yet made: Comaletec|

If additional interrogatories beyond the 25 permitted under Rule 33(a) of the Federal
Rules of Civil Procedure are needed, a maximum number by:

plaintiff(s) pJAc and defendant(s) ws /A

Maximum number of requests for admission by: plaintiff(s)S© and defendant(s) .

Number of depositions by plaintiff(s) of parties | non-parties J

Number of depositions by defendant(s) of: parties | non-parties | “

Time limits for depositions: “7 INCS

Date for completion of factual discovery: one U,2O en
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Number of expert witnesses of plaintiff(s): medical +. non-medical
Date for expert report(s): \ ene 2ZS,2coel

Number of expert witnesses of defendant(s): ee medical os non-medical
Date for expert report(s): as wre. 225, Zee. |

Date for completion of expert discovery:_) dy 3 \ Zo@\

Time for amendment of the pleadings by plaintiff(s)_W / PS or by
defendant(s) hv i iS

Number of proposed additional parties to be joined by plaintifits)2/Aand by defendant(s)
and time for completion of joinder: /#k

Types of contemplated dispositive motions: plaintiff(s): W / P& defendant(s):

Dates for filing contemplated dispositive motions: plaintiff(s): WD I
defendant(s): S@_Oveer CBE 1 , LOTN
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Have counsel reached any agreements regarding electronic discovery? If so, please
describe at the initial conference.

Will the parties *consent to trial before a magistrate judge pursuant to 28 U.S.C. §636?

(Answer _no if any party declines to consent without indicating which party has declined.)
C Ye No

This case should be ordered to arbitration at the close of discovery NO (yes/no)

This case should be ordered to mediation (now or at a later date) O (yes/no)

(Prior to the Initial Conference, counsel shall discuss with their clients and their adversaries whether
arbitration or mediation is appropriate in this case and be prepared to explain their reasons to the court)

* The fillable consent form AO 85 may be found at
https://www.nyed.uscourts.gov/forms/allforms/general_forms and may be filed electronically
upon completion prior to the initial conference, or brought to the initial conference and
presented to the Court for processing.
